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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

IN RE:                                        )
                                              )
OHIO EXECUTION PROTOCOL                       )
LITIGATION                                    )
                                              )   MISC. NO. 2:19-mc-3884-ECM-WC
CLEVELAND JACKSON                             )
                                              )
        Movant.                               )

                                         ORDER

        Upon consideration of Movant Cleveland Jackson’s Notice of Withdrawal of Motion to

Compel (Doc. 9), in which the Movant indicates the he seeks to withdraw his motion to compel

because the Alabama Department of Forensic Sciences has fully complied with the subpoena,

it is

        ORDERED that Movant’s Motion to Compel Production of Documents (Doc. 1) is

hereby DENIED as moot.

        DONE this the 27th day of September, 2019.


                                   /s/ Wallace Capel, Jr.
                                   WALLACE CAPEL, JR.
                                   CHIEF UNITED STATES MAGISTRATE JUDGE
